                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

   GREG ADKISSON, et al.,                   )
             Plaintiffs,                    )
   v.                                       )   No.: 3:13-CV-505-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )         Lead Case Consolidated with
                                            )
   KEVIN THOMPSON, et al.,                  )
             Plaintiffs,                    )
   v.                                       )   No.: 3:13-CV-666-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )         as consolidated with
                                            )
   JOE CUNNINGHAM, et al.,                  )
             Plaintiffs,                    )
   v.                                       )   No.: 3:14-CV-20-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )
                                            )
   BILL ROSE,                               )
             Plaintiff,                     )
   v.                                       )   No.: 3:15-CV-17-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )
                                            )
   CRAIG WILKINSON, et al.,                 )
             Plaintiffs,                    )
   v.                                       )   No.: 3:15-CV-274-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
             Defendant.                     )
                                            )
                                            )
   ANGIE SHELTON, as wife and next of       )
   Kin on behalf of Mike Shelton, et al.,   )
                 Plaintiffs,                )
   v.                                       )   No.: 3:15-CV-420-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,          )
                 Defendant.                 )
                                            )




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   JOHNNY CHURCH,                                        )
             Plaintiff,                                  )
   v.                                                    )      No.: 3:15-CV-460-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                       )
             Defendant.                                  )
                                                         )
                                                         )
   DONALD R. VANGUILDER, JR.,                            )
              Plaintiff,                                 )
   v.                                                    )      No.: 3:15-CV-462-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                       )
              Defendant.                                 )
                                                         )
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   JUDY IVENS, as sister and next of kin,                )
   on behalf of JEAN NANCE, deceased,                    )
                 Plaintiff,                              )
   v.                                                    )       No.: 3:16-CV-635-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                       )
                 Defendant.                              )
                                                         )
                                                         )
   PAUL RANDY FARROW,                                    )
             Plaintiff,                                  )
   v.                                                    )        No.: 3:16-CV-636-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                       )
             Defendant.                                  )
                                                         )

                                  MEMORANDUM AND ORDER

          This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

   and Standing Order 13-02.

          Previously, on January 18, 2019, the Court found that this litigation is one that could benefit

   from mediation, and ordered the parties to mediate the case within one hundred fifty (150) days of

   the entry of the Order. [Doc. 459].1 On March 22, 2019, the Court approved the appointment of



          1
          Unless otherwise indicated, citations to the record refer to the docket entries in Adkisson,
   3:13-CV-505.
                                                    2

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   Daniel J. Balhoff to serve as a mediator in the present case. [Doc. 466]. After the parties filed a

   joint motion for an extension of time for mediation [Doc. 472], the Court extended the deadline

   for mediation until August 16, 2019. [Doc. 474]. The Court directed the parties that within ten

   (10) days following the conclusion of the mediation, the mediator should file a report with the

   Court stating the outcome of the mediation, as contemplated by Local Rule 16.4(m). [Id. at 3].

          As the mediator has not filed a report with the Court stating the outcome of the mediation,

   the Court finds that the deadline for mediation will be extended an additional sixty (60) days, until

   October 15, 2019. The Court directs the parties that if they are unable to completely resolve this

   litigation pursuant to mediation, they SHALL report to the Court, along with any updates to their

   Phase II trial proposals, within ten (10) days following the conclusion of the mediation.

          IT IS SO ORDERED.

                                                 ENTER:



                                                 United States Magistrate Judge




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